Case 3:17-cv-00204-RGJ-LLK Document 8 Filed 05/01/17 Page 1 of 2 PageID #: 50




                       UNITED STATES DISTRICT COURT
                                             for the
                                   Western District of Kentucky
                                       Louisville Division

Reginald Green                         )
      Plaintiff                        )
                                       )
v.                                     )               Case No.        3:17-cv-00204-TBR
                                       )
ARS Account Resolution Services et al. )
     Defendants                        )
                                       )

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
              AS TO DEFENDANT NATIONAL CREDIT SYSTEMS, INC.

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Pursuant to Fed. R. Civ. P. 41 Plaintiff hereby gives notice that he is dismissing, without

prejudice, his claims against Defendant National Credit Systems only. This Notice does not and

is not intended to affect the Plaintiff’s claims against any other party to this action.


                                               Submitted by:

                                               /s/ James H. Lawson
                                               James H. Lawson
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                                               Louisville, KY 40207
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                                               Counsel for Plaintiff
                                               Reginald Green
Case 3:17-cv-00204-RGJ-LLK Document 8 Filed 05/01/17 Page 2 of 2 PageID #: 51




                                 CERTIFICATE OF SERVICE

        This is to certify that I filed the foregoing Notice of Voluntary Dismissal via the Court’s
CM/ECF system on this 1st day of May, 2017, which will send a Notice of Electronic Filing to
the following counsel of record:

John P. Langenderfer                                  Christy A. Ames
Surdyk, Dowd & Turner Co., L.P.A.                     Timothy D. Thompson
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Wakefield & Associates, Inc.                          Counsel for Defendant
                                                      Santander Consumer USA, Inc.


        I also served a true copy of the foregoing Notice of Voluntary Dismissal via U.S. Mail on
the persons at the addresses set forth below this 1st day of May, 2017:

ARS Account Resolution Services                       GTE Wireless, Inc.
Assumed name for                                      as a General Partner of Verizon Wireless
Healthcare Revenue Recovery Group, LLC                c/o CT Corporation System
c/o Corporation Service Company                       306 W. Main Street, Suite 512
421 W. Main Street                                    Frankfort, KY 40601
Frankfort, KY 40601
                                                      National Credit Systems, Inc.
                                                      c/o CT Corporation System
                                                      306 W. Main Street, Suite 512
                                                      Frankfort, KY 40601


                                      /s/ James H. Lawson
                                      Counsel for Plaintiff
                                      Reginald Green
